This cause is before us upon an appeal by the defendant Snyder from that portion of the judgment against the defendants awarding the plaintiff the sum of $8,075, and is a companion case to that of Arthur B. Thomas, Plaintiff and Appellant, v. P.N. Snyderet al., Defendants and Respondents, ante, p. 397 [300 P. 117].
[1] The appeal is based upon the judgment-roll, and involves the same questions which we have considered in the case just mentioned. Upon the authority of what we have said in the opinion in that case, the judgment, so far as appealed from, by the defendants Snyder, is affirmed.
A petition for a rehearing of this cause was denied by the District Court of Appeal on June 26, 1931, and a petition by appellants to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on July 23, 1931. *Page 768 